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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




   Anthony Robinson,

                          Plaintijf,
                                                             Civil Action No. l:16-cv-1604
                                                             Hon. Liam O'Grady
                                                             Hon. Theresa Buchanan
    Loudon County Public Schools,

                          Defendant.


                                 MEMORANDUM OPINION

       This mattercomes before the Court on DefendantLoudon County Public School's

Motion to Dismiss the Amended Complaint. (Dkt. No. 16). This dispute arises out of

allegations that Defendant discriminated against Plaintiff on the basis of race and retaliated

against Plaintifffor engaging in protected conduct. For the reasons discussed below, the Court

GRANTS IN PART and DENIES IN PART Defendant's Motion to Dismiss.

                                       I. BACKGROUND


       Plaintiff, Anthony Robinson, is an African-American male and former head custodian at

Sully Elementary School in Sterling, Virginia. Plaintiff was supervised inthat role by Assistant

Principal Mark Hayden and Principal Colleen O'Neill. Both supervisors are Caucasian. Plaintiff

alleges that he has had disputes with Vice Principal Hayden on at least three occasions during his
employment. First, on August 27 and 28, 2014, Plaintiff avers that he received verbal

permission from Vice Principal Hayden to modify his schedule. Plaintiff worked from noon to 8

p.m. though his regular shift was from 2 p.m. to 10 p.m. Nevertheless, Vice Principal Hayden

verbally reprimanded Plaintifffor leaving the school before 10 p.m. Second and around the
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